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By Electronic Filing & Hand Delivery

The Honorable Gregory M. Sleet

U.S. District Court for the District of Delaware
844 North King Street

Wilmington, Delaware 19801

Re: McNeil Nutritionals v. Sugar Association, et al.
C. A. No.: 05-69 (GMS)

Dear Judge Sleet:

I am writing pursuant to Local Rule 7.1.4 on behalf of the defendants in this
matter to request oral argument on Defendants’ Motion to Dismiss, for which briefing is now
complete (D.I. 26, 46).

Counsel are available at the Court’s convenience if Your Honor has any
questions.

Respectfully,
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Sarah E. DiLuzio

cc: Steven J. Balick, Esquire (via e-file and hand delivery)

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